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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,

v.                                                     Case No. 11-20178-06
                                                       Honorable Patrick J. Duggan
DEONTE DEJUAN MORRIS,

                     Defendant.
                                        /


      OPINION AND ORDER DENYING DEFENDANT’S OBJECTION TO
              MAGISTRATE JUDGE’S JUNE 8, 2012 ORDER

       This is a criminal action in which Defendant Deonte Dejuan Morris and a number

of additional defendants are charged with conspiracy to distribute a controlled substance.

On May 21, 2012, Defendant filed a motion asking the Court to recommend to the United

States Marshal that Defendant be transferred to a facility closer to the courthouse or, in

the alternative, be brought to the courthouse to view certain discovery materials with his

counsel. The United States filed a response, opposing the motion. This Court referred

the motion to Magistrate Judge R. Steven Whalen for disposition on May 22, 2012. On

June 8, 2012, Magistrate Judge Whalen issued an order denying the motion. Defendant

filed an objection to the order the same day.

       Rule 72(a) of the Federal Rules of Civil Procedure and 28 U.S.C. § 636(b)(1)(A)

provide the standard of review this Court must apply when objections are filed with

respect to a magistrate judge’s ruling on nondispositive matters. The rule provides in
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relevant part: “The district judge in the case must consider timely objections and modify

or set aside any part of the order that is clearly erroneous or is contrary to law.” Fed. R.

Civ. P. 72(a); see also 28 U.S.C. § 636(b)(1)(A).

       Applying this standard, the Court rejects Defendant’s objection to Magistrate

Judge Whalen’s order. Magistrate Judge Whalen’s decision was neither clearly erroneous

nor contrary to law. As Defendant appears to acknowledge, a district court has no

authority to direct where a pretrial detainee is incarcerated and he fails to cite any legal

authority requiring a district court to recommend a particular place of incarceration.

       Accordingly,

       IT IS ORDERED, that Defendant’s objection to Magistrate Judge Whalen’s June

8, 2012 Order is DENIED.


Dated: June 21, 2012
                                                   s/PATRICK J. DUGGAN
                                                   UNITED STATES DISTRICT JUDGE

Copies to:
Counsel of Record




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